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                                United States District Court
                                Southern District of Texas
                                     Victoria Division
STATE OF TEXAS,
STATE OF ALABAMA
STATE OF ALASKA
STATE OF ARKANSAS
STATE OF FLORIDA
STATE OF IDAHO
STATE OF IOWA
STATE OF KANSAS
COMMONWEALTH OF KENTUCKY
STATE OF LOUISIANA
STATE OF MISSISSIPPI
STATE OF MISSOURI
STATE OF MONTANA
STATE OF NEBRASKA
STATE OF OHIO
STATE OF OKLAHOMA
STATE OF SOUTH CAROLINA
STATE OF TENNESSEE
STATE OF UTAH
STATE OF WEST VIRGINIA
STATE OF WYOMING
                  Plaintiffs,

v.                                                         Case No. 6:23-cv-7
U.S. DEPARTMENT OF HOMELAND SECURITY;
ALEJANDRO MAYORKAS, in his official capacity
  as Secretary of Homeland Security;
U.S. CITIZENSHIP AND IMMIGRATION
  SERVICES; UR JADDOU, in her official
  capacity as Director of U.S. Citizenship and
  Immigration Services;
U.S. CUSTOMS & BORDER PROTECTION;
TROY MILLER, in his official capacity as Acting
  Commissioner of U.S. Customs & Border
  Protection;
U.S. IMMIGRATION & CUSTOMS
  ENFORCEMENT; and TAE JOHNSON, in his
  official capacity as Acting Director of U.S.
  Immigration & Customs Enforcement;
                    Defendants,

VALERIE LAVEUS; FRANCIS ARAUZ; PAUL
ZITO; ERIC SYPE; KATE SUGARMAN; NAN
LANGOWITZ; AND GERMAN CADENAS;
                Intervenor-Defendants.

                     PLAINTIFF STATES’ AMENDED NOTICE OF APPEAL
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       Pursuant to Rules 3(a)(1), 4(a)(1)(A), and 4(a)(4)(B)(ii) of the Federal Rules of Appellate

Procedure, Plaintiffs the States of Texas, Alabama, Alaska, Arkansas, Florida, Idaho, Iowa,

Kansas, Louisiana, Mississippi, Missouri, Montana, Nebraska, Ohio, Oklahoma, South Carolina,

Tennessee, Utah, West Virginia, and Wyoming, and the Commonwealth of Kentucky file this

Amended Notice of Appeal to the United States Court of Appeals for the Fifth Circuit from the

Final Judgment entered on March 8, 2024 (ECF No. 306; appeal previously noticed in ECF No.

307 and docketed in the Fifth Circuit as No. 24-40160) and the Memorandum Opinion and Order

denying Plaintiffs’ Rule 59(e) Motion to Reconsider Judgment filed on May 28, 2024 and entered

on May 29, 2024 (ECF No. 315).

Dated: May 31, 2024                             Respectfully submitted.

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                                     CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on May 31, 2024, which automatically serves all counsel of record who are

registered to receive notices in this case.


                                                    /s/Ryan D. Walters
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